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AO 91 (Rev. 11/11) Criminal Complaint lus he Bs

UNITED STATES DISTRICT COURT

for the

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Northern District of New York

United States of America Lawensa~ 2 CLOCK

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v. ) Pe le, Fr
Adebodun Idowu, d/o/b xx/xx/1963 )  CaseNo. PM T-NBH Aa
) 1: (CFH)
)
)
 )
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of | Dec. 2015-Sept.26,2017 —_sinthecountyof ——sRensselaer_ =—S—_—siin the
__ Northern Districtof == == NewYork _ , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 1343 & 1349 Count 1: Conspiracy to Commit Wire Fraud

This criminal complaint is based on these facts:

See Attached Affidavit

@ Continued on the attached sheet.

 

hau :

Complaihant's signature

HSI Special Agent Daria Botten

Printed name and title
Sworn to before me and signed in my presence.

Date; 09/26/2017 Clusl—_ 4 od

Judge's signature

City and state: a Albany, New York Hon. Christian F. Hummel, U.S. Magistrate Judge

 

Printed name and title
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REQUEST FOR A CRIMINAL COMPLAINT

 

41.) Based upon my experience, training, and the totality of
circumstances in the above information, there is probable cause to believe that
between about December 2015 and about September 26, 2017, in the Northern
District of New York and elsewhere, Adebodun Idowu and others known and
unknown, did knowingly and intentionally combine and conspire to devise and
execute a scheme and artifice to defraud and to obtain money and property by
means of materially false and fraudulent pretenses, representations, and
promises, and to cause the interstate transmission of writings, signs, signals,
and sounds for the purpose of executing that scheme and artifice, in violation

of Title 18, United States Code, Sections 1343 & 1349.

Lote {P

Daria Botten
Special Agent, HSI

Sworm ang/subscriped to before me
on this day of Septembey;2017.

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The Honorable Christian’ F. Hummel
United States Magistrate Judge
Northern District of New York

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

STATE OF NEW YORK
ss.
COUNTY OF ALBANY

I, Daria Botten, being duly sworn, depose and say:

1.) I am a U.S. Immigration and Customs Enforcement Homeland
Security Investigations (HSI) Special Agent within the U.S. Department of
Homeland Security and have been assigned to the Resident Agent in Charge,
Albany, NY since October 2007. As such, I am an investigative or law
enforcement officer of the United States within the meaning of Title 18 United
States Code, Section 2510(7), that is, an officer of the United States who is
empowered by law to conduct investigations of and to make arrests for offenses
enumerated in Title 18, United States Code, Section 2516(1).

My career as a Special Agent began in June 2003 with the agency now
known as U.S. Immigration and Customs Enforcement Homeland Security
Investigations (HSI). Additionally, I have been certified as a Computer Forensics
Agent since March 2007 and have conducted numerous forensic exams on
computers and digital media in support of investigations involving the online
exploitation of minors and the possession and distribution of child pornography.
As a HSI Special Agent, I am authorized to seek and execute federal arrest and
search warrants for Title 18 criminal offenses, including violations of 18 U.S.C.

§§ 13843 & 1349 (Conspiracy to Commit Wire Fraud).
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2.) In accordance with my present duties, I make this affidavit in
support of a criminal complaint charging Adebodun Idowu with a violation of
Title 18 U.S.C. §§ 1343 & 1349 [Conspiracy to Commit Wire Fraud].

3.) I make this affidavit from a review of reports by other law
enforcement agents, communication with others who have personal knowledge
of the events and circumstances described herein, and information gained
through my training and experience. The information outlined below is provided
for the limited purpose of establishing probable cause and does not contain all
details or all facts of which I am aware relating to this investigation.

PROBABLE CAUSE

Overview of the Investigation

4.) The schemes and/or conspiracy being investigated involve multiple
individuals scattered across the United States, Europe and West Africa. The
purpose of the schemes is to defraud victims out of money, and then to launder
the stolen monies. The schemes target victims who fall into two broad categories:
(i) victims who are middle-aged females with online dating profiles; and (ii)
victims who are elderly.

5.) | With respect to the group of victims who are primarily middle-aged
females, the perpetrators of the schemes have created online dating personas
and seek to build online dating relationships with their unsuspecting victims.
Once a victim has formed a romantic bond with the online persona of a member
of the fraud group, the fraud group member tells the victim that he is purportedly

facing some type of emergent circumstance and is in dire need of money (e.g.,
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the fraudster’s family member needs urgent surgery and there is no health
insurance, the fraudster’s small business can’t make this week's payroll and as
a result a lucrative building project is going to be lost). The victims, because of
the emotional bond that they have formed with what someone they believe to be
a legitimate paramour, are thus tricked into wiring tens of thousands of dollars
to a multitude of different individuals, entities and bank accounts (some of which
are located in the United States and some of which are located overseas).

6.) With respect to the group of victims who are elderly, the perpetrators
of the schemes contact their victims through the telephone or via the Internet
and inform their victims that they are the beneficiary of some type of large sum
of money overseas (e.g., the fraudster claims that the victim was determined to
be the last remaining survivor of a distant relative who recently died and left a
vast overseas fortune in the purported decedent’s estate). The victims are further
told that before they can receive their sum of money, they must first pay some
type of foreign country tax or export fee, etc. The victims, believing the
fraudsters’ claims to be true, are tricked into wiring tens of thousands of dollars
to a multitude of different individuals, entities and bank accounts (some of which
are located in the United States and some of which are located overseas) hoping
to free up the purported money.

7.) Upon information and belief, Adebodun Idoww’s! role in the schemes

or conspiracy under investigation is to open and maintain multiple bank

 

1 Adebodun Idowu is a Nigerian national who is a lawful permanent resident of the
United States.

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accounts in the United States that are used to receive monies stolen from victims
in the above-described schemes, and then to either wire or transfer the stolen
monies to other bank accounts belonging to various fraud members, or to
withdraw the stolen monies in cash for subsequent dissemination to members
of the conspiracy.

Genesis of the Investigation

8.) Inlate January 2016, the U.S. Attorney’s Office in Albany, New York
was contacted by a well-known local criminal defense attorney. The defense
attorney advised that he believed that his client, V.G., was the victim of an online
financial fraud. The defense attorney believed that V.G., beginning in early
January 2016, had been duped into wiring thousands of dollars into various
bank accounts connected to individuals who were claiming that the funds were
to be used (i) to build a hospital in Michigan, and (ii) to release a large amount
of currency that was sitting in London, England, awaiting transfer to V.G.

Interview of Victim V.G.

9.) On January 29, 2016, USPIS Postal Inspector Brendan Donahue
interviewed V.G. V.G. is a middle-aged female who lives in the Northern District
of New York and who has been recently widowed. V.G. said that sometime in
December 2015 she was contacted, via her Match.com profile, by a man claiming
to be “Michael Morgan” (“Morgan”). V.G. agreed to communicate with “Morgan,”
and they communicated over the telephone, via text message, and through the
exchange of e-mails via “Morgan”’s e-mail address

michael.morgan209@yahoo.com. Over the next couple of weeks “Morgan”

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proclaimed that he owned a construction company, and that he was romantically
interested in V.G. “Morgan” sent V.G. his purported age (48), home address (30
Wilshire Drive, Delmar, NY), work address (Buhl Building LLC, 535 Griswold
Street, Detroit, Michigan), and pictures.

10.) Subsequent investigation has established that while an individual
named “Michael Morgan” does in fact live at 30 Wilshire Drive in Delmar, New
York, that individual is in his sixties, does not have any connection to the e-mail
address michael.morgan209@yahoo.com, does not have an online dating
account, and has never heard of V.G. Additionally, the Buhl Building LLC
management company has been contacted and they have never heard of
“Michael Morgan.” Finally, it has been determined that one of the pictures (of
“Morgan”’s face) that “Morgan” sent to V.G. of his purported self is actually a
picture of an actor/musician (who lives in New York City) who appeared in an
online news article about the actor/musician. That actor/musician has been
interviewed and he has never heard of “Morgan” or V.G.

11.) Over the next couple of weeks (in or around late December 2015 and
early January 2016), V.G. exchanged telephone calls and e-mails (via the e-mail
account michael.morgan209@yahoo.com) with “Michael Morgan.” In one e-mail
sent on January 3, 2016 to V.G., “Morgan” wrote, “you are the perfect girlfriend,
fiancé, friend, person, human being in the world. you, my baby. you're my life
and you have my whole heart. I adore you and every part of you., you are the

key to my heart, my other half, my soul mate and I will be so happy the day that
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I get to walk down the aisle and say, “I do...” ‘cause, Baby, I DO! I love you and
don’t ever forget that”. To this date, V.G. has never met “Morgan” in person.

“Morgan”’s Purportedly Distressed Construction Company

12.) During the telephone conversations between V.G. and “Morgan” in
or around late December 2015 and early January 2016, “Morgan” repeatedly
expressed disappointment that his purported hospital construction project in
Algonac, Michigan kept experiencing financial hardships, including an inability
to make payroll. “Morgan” asked V.G. for financial assistance, and she agreed

aoe

to help “Morgan” by wiring, at “Morgan”’s direction, multiple sums of money to
various individuals and bank accounts located both inside and outside of the
United States. “Morgan” claimed that he would pay V.G. back for the monies
that she wired and sent V.G., via the e-mail account
michael.morgan209@yahoo.com, pre-signed “Installment Notes” purporting to
promise to pay back any loaned monies. To date, V.G. has not been repaid any

monies by “Morgan” or his purported construction company.

The Wires Sent by V.G.

13.) Between January 4, 2016 and January 22, 2016, V.G., at “Morgan”’s
direction, sent four separate wires? ($12,540.00, $30,040.00, $150,000.00, and
$11,216.92) to four different bank accounts and/or beneficiaries (three of which

were located in the United Kingdom and one of which was located in California).

 

2V.G. sent the wires from her bank account located in the Northern District of New
York.

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Thus, the total amount of the wires sent by V.G. to various individuals and/or
entities at the request of “Morgan” is over $200,000.00.

Identification of E-Mail Account evanskennedy22@yahoo.com

14.) On February 3, 2016, the Honorable Christian F. Hummel, U.S.
Magistrate Judge, N.D.N.Y., signed a search warrant authorizing investigators to
search “Morgan”’s e-mail account michael.morgan209@yahoo.com. Pursuant to
the search of the aforementioned account, investigators seized a January 30,
2016 e-mail from evanskennedy22@yahoo.com to “Morgan.” The subject line of
the e-mail was “Line.” Investigators believed that evanskennedy22@yahoo.com
was telling “Morgan” what to say to V.G. The text of the e-mail between
evanskennedy22@yahoo.com and michael.morgan209@yahoo.com is as follows:

I am very unhappy at the moment, I feel like
committing suicide now, I am about to lose all I have
worked for and you expect me to be happy. I have to
tell you that all documents attached to this contract
was handed over to the Agent who has submitted them
all to the FSA for the purpose of this clearance we are
about to pay for. I will not have any papers or
documents linked to this contract until the FSA
clearance is perfected. Failure to get this done is like
killing all I have worked for, I do not need the $10,000
because it will not help solve this problem. I will only
be needing just $2900 for some personal issues, You
can keep the rest and make sure that you help source
for the balance and send it to London before
wednesday, its very clear that we have few days before
they place a complete embargo on the funds, are you
going to watch this happen to me ?

15.) Later, on the same day (January 30, 2016), “Morgan” e-mailed V.G.

and wrote:
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I am very unhappy at the moment, I feel like
committing suicide now, I am about to lose all I have
worked for and you expect me to be happy. I have to
tell you that all documents attached to this contract
was handed over to the Agent who has submitted them
all to the FSA for the purpose of this clearance we are
about to pay for. I will not have any papers or
documents linked to this contract until the FSA
clearance is perfected. Failure to get this done is like
killing all I have worked for, I do not need the $10,000
because it will not help solve this problem. I will only
be needing just $2900 for some personal issues, You
can keep the rest and make sure that you help source
for the balance and send it to London before
wednesday, its very clear that we have few days before
they place a complete embargo on the funds, are you
going to watch this happen to me ?3

“Morgan” used the exact language in the “line” provided by the person
behind the evanskennedy22@yahoo.com account to try and cause V.G. to send
“Morgan” $2,900.00 for his purported “personal issues.”

Identification of Adebodun Idowu and His Company, Santoks
Investments L.L.C.

16.) On the following day (January 31, 2016), “Morgan” wrote an e-mail
to evanskennedy22@yahoo.com that said, “.Hello sir..am waiting for the account
for the $2900. S...have a safe trip sir...”. Investigators believe that “Michael
Morgan” was waiting for some other member of the conspiracy to provide him

with a bank account into which the $2,900.00 sought from V.G. could be wired.

 

3 Morgan's e-mail concluded with one additional sentence that said “am ready to come
to you right now and we need to be happy and have fun together love but please help
me get this 20million so I can home....”

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17.) OnFebruary 1, 2016, “Morgan” e-mailed V.G. with the bank account
information into which the $2,900.00 was to be wired. The bank account was a
Bank of America account (#xxxx xxxx 5086) in the name of Santoks Investments
L.L.C. Despite “Morgan”’s plea for the $2,900.00, V.G. did not send the money
as requested, recognizing that she was likely the victim of a scheme to defraud.

18.) Investigators have learned that on July 26, 2015, Adebodun Idowu
created Santoks Investments L.L.C. by filing a Certificate of Formation with the
New Jersey Department of the Treasury, Division of Revenue and Enterprise
Services. According to the Certificate of Formation, Santoks Investments L.L.C.
is a Domestic Limited Liability Company with a Main Business Address of 47
Brenner Street, Newark, New Jersey 07108 and that the business’ purpose is
“GENERAL MERCHANDISE”.

Adebodun Idowu’s Likely Connection to the Person Behind E-Mail
Account evanskennedy22@yahoo.com

19.) On or about July 16, 2016, Adebodun Idowu entered into the United
States through the JFK, New York port of entry. The electronics possessed by
Idowu during this entry into the United States were searched pursuant to the
United States’ border search authority. The border search revealed that Idowu
used the messaging application WhatsApp on his Apple iPhone 6s to
communicate with others. In one of Idowu’s now since deleted messages dated
September 5, 2014, he either wrote, or received from someone else, a message
that contained the e-mail address “evanskennedy22@yahoo.com”. While

investigators are not entirely sure of the extent of the relationship between Idowu
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and the person behind the e-mail account evanskennedy22@yahoo.com, it is
clear that some type of relationship does exist and that the person behind
evanskennedy22@yahoo.com is involved in the fraud scheme(s) being
investigated.

Bank Accounts Owned and Controlled by Santoks Investments L.L.C.
and Adebodun Idowu

20.) Investigators have obtained bank account records associated with
Bank of America account (#xxxx xxxx 5086)—the account into which “Michael
Morgan” wanted V.G. to wire $2,900.00. The account is owned by Santoks
Investments L.L.C. and was opened on January 12, 2016 by Adebodun Idowu
acting as a “member” of the company. In connection with this account opening,
Idowu proved his identify to the bank by providing a copy of his Maryland driver’s
license with number J-300-031-031-972.

21.) In addition to Santoks Investments L.L.C.’s Bank of America
account (#xxxx xxxx 5086), the company has the following other bank accounts
which have been opened between December 2015 and the present by Adebodun
Idowu:

a.) Bank of America account # xxxx xxxx 2173;
b.) Bank of American account # xxxx xxxx 1783;
c.) J.P. Morgan Chase account # xxx xxx 138;
d.) J.P. Morgan Chase account # xxx xxx 2207;

 

4 Other items recovered from Idowu’'s electronic items suggest that he has some type of
business that sells used automobiles in Nigeria. I know from my training and
experience that the export of used automobiles from the United States for sale in
Nigeria can be a legitimate business, but it can also be used as a front for other
criminal activity, to include the laundering of money derived from criminal activities
conducted inside of the United States.

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e.) Branch Banking and Trust Company account # xxxx xxxx
72300;

f.) PNC Bank account # xxx xxx 5342;

g.) Wells Fargo account # xxx xxx 6484; and

h.) Wells Fargo account # xxx xxx 3780.

22.) Between January 1, 2015 and August 30, 2016, the Santoks
Investments L.L.C. bank accounts referenced in paragraph #21 (including Bank
of America account xxxx xxxx 5086) have had approximately $296,570.35
cumulatively deposited into the accounts via wires, cash deposits, or incoming
transfers from other purportedly unrelated accounts.

23.) An analysis of these same accounts shows evidence of structured
cash withdrawals designed to stay at or below the $10,000.00 threshold for the
filing of a Currency Transaction Report (CTR).5 Some examples are below:

a.) On February 19, 2016, Adebodun Idowu made the following
cash withdrawals (via bank teller(s)) from Bank of America
account # xxxx xxxx 5086:

$7,500.00
$4,000.00

b.) On April 25, 2016, Adebodun Idowu made the following cash
withdrawals (via bank ATM(s)) from J.P. Morgan Chase
account # xxx xxx 138:

$3,000.00
$800.00
$200.00
$800.00
$200.00

 

5 CTRs are forms that U.S. financial institutions are required to file with the Financial
Crimes Enforcement Network (FinCEN) for each deposit or withdrawal of currency
(cash) into or from the financial institution that exceed $10,000.00. I know from my
training and experience that individuals engaged in fraudulent financial schemes often
endeavor to keep their cash deposits and withdrawals below the CTR filing threshold
in an effort to avoid detection by law enforcement.

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c.)

d.)

e.)

$3,000.00
$800.00
$200.00
$1,500.00
$1,500.00
$800.00
$200.00

On May 23, 2016, Adebodun Idowu made the following cash
withdrawals (via bank teller(s) and ATM(s)) from Bank of
America account # Xxxx xxxx 2173:

$10,000.00
$10,000.00
$700.00
$700.00
$300.00

On May 23, 2016, (the same day as in subparagraph (c)
above), Adebodun Idowu made the following cash
withdrawals (via bank ATM(s) and possibly via teller) from
J.P. Morgan Chase account # xxx xxx 138:

$3,000.00
$800.00
$200.00
$800.00
$200.00
$3,000.00
$800.00
$200.00
$10,000.00

On June 10, 2016, Adebodun Idowu made the following cash
withdrawals (via bank ATM(s) and possibly via teller) from
J.P. Morgan Chase account # xxx xxx 138:

$3,000.00
$800.00
$200.00
$8,000.00

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Adebodun Idowu Appears to Have Adopted the Identity of Purported
Nigerian National “Dino Ola Martins”

24.) On March 6, 2017, investigators in New Jersey conducted physical
surveillance of Adebodun Idowu’s 518 Great Beds Court, Perth Amboy, New
Jersey residence. At approximately 10:25 a.m., Idowu was observed leaving
the residence and getting into a black Nissan Altima. At around 11:45 a.m.,
Idowu was observed parking the Nissan Altima near 6 South Davenport Street,
Somerville, New Jersey and entering a J.P. Morgan Chase bank. After Idowu
departed the bank, investigators spoke with bank branch personnel who said
that Idowu claimed to be “Dino Ola Martins” and that he had attempted to
open a bank account. In an effort to prove his purported identity, Idowu,
a/k/a Dino Ola Martins, provided J.P. Morgan Chase employees with (i) a
Nigerian passport (#4A05106785 and expiration date June 12, 2021) in the
name of Dino Ola Martins; and (ii) Bank of America bank statements for Bank
of America account xxxx xxxx 0812 in the name of “Dino O Martins” with a
bank statement mailing address of 9 E 8T Street, Apt 101, New York, NY
10003-5901. Bank personnel copied both the passport and bank statements
and provided copies to investigators.

25.) The aforementioned event was significant for a couple of reasons.
First, investigators now suspected that Idowu was likely using the identity of
Dino Ola Martins to open up bank accounts that were likely being used in the
schemes under investigation. Second, during the July 16, 2016 border search

of Idowu’s electronics, investigators discovered pictures (on Idowu’s iPhone) of

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two identification documents with Idowu’s picture (the same picture on the
Nigerian passport in the name of Dino Ola Martins), but with different names:
a.) | _Idoww’s picture was on a Maryland driver’s license (with # S-
515-256-619-578 and expiration date July 16, 2021) in the
name of “Biodun Akosile”; and
b.) | Idowu’s picture was on a Maryland driver's license (with # S-
515-779-619-976 and expiration date July 16, 2021) in the
name of “William Baume.”

26.) On April 29, 2017, Adebodun Idowu again entered into the United
States, but this time through the Atlanta International Airport Port of Entry.
The electronics possessed by Idowu during this entry into the United States
were searched pursuant to the United States’ border search authority. The
border search revealed that Idowu’s MacBook Pro laptop computer contained a
picture of someone holding the Nigerian passport of Dino Ola Martins with
passport # AXXXXXXXX and Idowuw’s picture. The picture of the passport
appeared to be the same passport that Idowu provided to J.P. Morgan Chase
bank personnel on March 6, 2017 (see paragraph # 24).

Identification of the Photograph of Adebodun Idowu Used in the

Various Counterfeit Identification Documents Noted in the

Investigation

27.) Investigators with the United States Department of State,
Diplomatic Security Service (DSS) located Adebodun Idoww’s online United
States visa application in which he sought admission to the United States as a
Visitor for Business and Pleasure (B1/B2). Idowu’s photograph that he

submitted in connection with his visa application appears to be the same

photograph appearing on his Nigerian passport in the name of Dino Ola

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Martins, his Maryland driver’s license in the name of “Biodun Akosile,” and his
Maryland driver’s license in the name of “William Baume.” Thus, investigators
suspect that Idowu is making false or counterfeit identification documents, or
is working with someone who is making the false or counterfeit identification
documents for him.

Adebodun Idowu, Posing as Dino Ola Martins, Opens Bank Accounts
and Creates a Company Called Dimax Investments L.L.C.

28.) Investigators have learned that on that on February 27, 2017, a
person named “Dino Ola Martins” (believed to be Adebodun Idowu) created
Dimax Investments L.L.C. by filing a Certificate of Formation with the New
Jersey Department of the Treasury, Division of Revenue and Enterprise
Services. According to the Certificate of Formation, Dimax Investments L.L.C.
is a Domestic Limited Liability Company with a Main Business Address of 1056
Highway 9 South #132, Parlin, New Jersey 08859, and that the business’s
purpose is “BUYING AND SELLING OF GENERAL MERCHANDISE”. The
address of 1056 Highway 9 South in Parlin, New Jersey is a UPS Store.®

29.) Based upon a review of various bank records, investigators have
determined that Dino Ola Martins and/or Dimax Investments L.L.C. have
opened the following bank accounts in 2017:

a.) Bank of America account # xxxx xxxx 0812 in the name of
Dino Ola Martins;

 

6 Postal Inspectors have obtained the account records for post office box #132 at the
UPS Store located at 1056 Highway 9 South, Parlin, New Jersey. The records show
that the box was opened by Dino Ola Martins on February 20, 2017, and that Dino
Ola Martins ‘proved’ his identity by providing the same counterfeit Nigerian passport
for Dino Ola Martins (# AXXXXXXXX) that Idowu has used to open bank accounts in
the name of Dino Ola Martins and Dimax Investments L.L.C.

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b.) Bank of America account # xxxx xxxx 1713 in the name of
Dino Ola Martins;
c.) Bank of America account # xxxx xxxx 5704 in the name of
Dimax Investments L.L.C.;
d.) Bank of America account # xxxx xxxx 5717 in the name of
Dimax Investments L.L.C.; and
e.) Wells Fargo account # xxx xxx 6855 in the name of Dimax
Investments L.L.C.
For the two Dino Ola Martins personal bank accounts, Dino Ola Martins
‘proved’ his identity by providing the Nigerian passport in the name of Dino Ola
Martins (passport # AXXXXXXXX and expiration date June 12, 2021). In each of
the two Dimax Investments L.L.C. Bank of America bank accounts, Dino Ola
Martins opened each account as the company’s “Manager” and ‘proved’ his
identity by providing the Nigerian passport in the name of Dino Ola Martins
(passport # AXXXXXXXX and expiration date June 12, 2021). In the Wells Fargo
account application for Dimax Investments L.L.C.’s account # xxx xxx 6855,
Dino Ola Martins opened the account as “sole owner” of the company and
‘proved’ his identity by providing the Nigerian passport in the name of Dino Ola
Martins (passport # AO05106785 and expiration date June 12, 2021).
Additionally, in the same Wells Fargo account application, Martins (Idowu)
described Dimax Investments L.L.C.’s business as “buying and selling of
general merchandise auto” with annual gross sales of “$100,000.00.”
30.) Investigators have obtained Bank of America surveillance video
from March 6, 2017 from the bank’s Manville Main New Jersey branch. On
this date, Idowu, posing as Dino Ola Martins, either signed, or updated his

signature card, for the two Dino Ola Martins Bank of America accounts (# xxxx

xxxx 0812 and # xxxx xxxx 1713), and the Dimax Investments L.L.C. Bank of
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America account xxxx xxxx 5704. During the March 6, 2017 surveillance
video, Idowu can be clearly seen entering the bank, spending approximately 2.5
hours inside of the bank, and interacting with Bank of America employee J.P.

31.) On August 15, 2017, Bank of America employee J.P. was
interviewed by investigators. J.P. stated that on March 6, 2017 he/she did
work with what he/she believed to be Bank of America customer Dino Ola
Martins and his company Dimax Investments L.L.C. J.P. also stated that Dino
Ola Martins ‘proved’ his identity by providing him/her with a Nigerian passport
in the name of Dino Ola Martins (passport # AXXXXXXXX and expiration date
June 12, 2021).

32.) In connection with the Bank of America account opening
documents for account # xxxx xxxx 0812, Idowu, posing as Dino Ola Martins,
gave a current mailing address of 9 E 8% Street, Apartment 101, New York, NY
10003. A review of recent monthly account statements for Dino Ola Martins
(and some Dimax Investments L.L.C.’s statements) show a mailing address of 9
E 8th Street, Apartment 101, New York, NY 10003. Investigators have since
determined that this address is not the address of an actual apartment, but is
the address of a private post office box at a UPS Store located at 9 E 8th Street,
New York, NY 100083.

Adebodun Idowu is Continuing to Structure Withdrawals of Cash

From His Bank Accounts in the Names of Dino Ola Martins and

Dimax Investments L.L.C.

33.) Between January 1, 2017 and July 1, 2017, the bank accounts

owned / controlled by Dino Ola Martins and Dimax Investments L.L.C. (bank

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accounts referenced in paragraph #29) have had approximately $381,597.95

cumulatively deposited into the accounts by either wires, cash deposits, or

incoming transfers from purportedly unrelated other accounts.

34.) An analysis of these same accounts shows evidence of structured

cash withdrawals designed to stay at or below the $10,000.00 threshold for the

filing of a Currency Transaction Report (CTR). Some examples are below:

a.)

b.)

Cc.)

d.)

On February 27, 2017, Dino Ola Martins made the
following cash withdrawals (via bank teller(s) and bank
ATM(s)) from Bank of America account # xxxx xxxx
0812:

$10,000.00
$800.00
$200.00

On March 3, 2017, Dino Ola Martins made the
following cash withdrawals (via bank teller(s) and bank
ATM({s)) from Bank of America account # xxxx xxxx
0812:

$2,000.00
$8,000.00
$800.00
$200.00

On May 16, 2017, the following cash withdrawals (via
bank teller(s) and bank ATM(s)) were made from Dimax
Investments L.L.C’s Bank of America account # xxxx
xxxx 5704:

$10,000.00
$3,320.00
$700.00
$500.00
$500.00

On May 22, 2017, the following cash withdrawals (via
bank teller(s) and bank ATM(s)) were made from Dimax
Investments L.L.C’s Bank of America account # xxxx
xxxx 5704:

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e.)

$10,000.00
$700.00
$500.00
$500.00

On June 7, 2017, the following cash withdrawals (via
bank teller(s) and bank ATM(s)) were made from Dimax
Investments L.L.C’s Bank of America account # xxxx
Xxxx 5704:

$8,000.00
$10,000.00
$700.00

Interview of Victim J.S.#2

35.) Investigators have recently reviewed the June 2017 monthly account

statement for Dimax Investments L.L.C.’s Bank of America account # xxxx xxxx

5704. The statement shows that on June 5, 2017, J.S.#2 wired $200,000.00

into the account.

36.) On July 31, 2017, agents with Homeland Security Investigations

(HSI) telephonically interviewed J.S.#2. J.S.#2 is an elderly man (81 years of

age) who lives in Lucerne, California. During the interview, J.S.#2 said a variety

of things, including:

a.)

b.)

that in May, 2017 he was contacted by a purported
representative of Chong Hing Bank in Hong Kong,
China who said that he (J.S.#2) was the beneficiary of
a large cash estate that was purportedly being held at
the bank;

that the bank representative said that if J.S.#2 was too
elderly to travel to Hong Kong to claim the purported
funds, that he (J.S.#2) should work with “Paul Tsu”
with Yuen & Tsu Solicitors in Hong Kong to claim the
funds in the estate;

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c.)

d.)

f.)

that Paul Tsu told him that there were approximately
$293,000.00 in back taxes associated with the cash
estate, and that the taxes had to be paid before J.S.#2
could receive his money;

that he (J.S.#2) agreed to pay the ‘back taxes’ and was
told by Paul Tsu to wire the money to Dimax
Investments L.L.C.’s account with Bank of America;

that he (J.S.#2) didn’t have the full $293,000.00 in one
account, so he wired $200,000.00 from one account,
and $93,000.00 from a different account, and that
after wiring the funds, he was told that an additional
$200,000.00 would have to be paid before the
purported cash estate could be released; and

that he was going to tell Paul Tsu that he had no more
money to send.

To date, J.S.#2 has not received any cash from the purported cash estate of

which he is the beneficiary.

Adebodun Idowu, Posing as Dino Ola Martins, Launders J.S.#2’s
$200,000.00 Wire Through Dimax Investments L.L.C.’s Bank of
America Account # xxxx xxxx 5704

37.) As described above, account records for Dimax Investments L.L.C.’s

Bank of America account # xxxx xxxx 5704 show that on June 5, 2017, J.S.#2

wired $200,000.00 into the account. Within three days of receiving J.S.#2’s

$200,000.00 wire, Dino Ola Martins (Idowu) withdrew, transferred, and wired

out $194,050.00 of J.S.#2’s money. Below are the pertinent debit transactions:

a.)
b.)

June 5, 2017: $20,000.00 cash withdrawal:
June 6, 2017: $9,000.00 cash withdrawal:

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c.) June 6, 2017: $3,800.00 transfer to Bank of America
account ending #4734;

d.) June 6, 2017: $80,000.00 wire to Santoks Investments
L.L.C.’s Branch Banking and Trust Company account
# XXXX Xxxx 72300;

e.) June 6, 2017: $11,750.00 wire to Emmanuel
Olugbake’s TD Bank account ending #6016;

f.) June 6, 2017: $14,000.00 cash withdrawal;

g.) June 7, 2017: $8,000.00 cash withdrawal;

h.) June 7, 2017: $25,000.00 wire to Dimax Investments
L.L.C.’s Santander Bank account ending 1252;7

i.) June 7, 2017: $10,000.00 cash withdrawal;

j.) June 8, 2017: $10,000.00 cash withdrawal; and

k.) June 8, 2017: $2,500.00 transfer to Bank of America
account ending #9310.

I know from my training and experience that perpetrators of financial frauds, in
an effort to make it more difficult for law enforcement to recover stolen funds,
often move the stolen funds from one account to another and commingle the
stolen funds with legitimate funds.

Execution of a Search Warrant at Adebodun Idowu's Residence in
Perth Amboy, New Jersey

38.) On the morning of September 26, 2017, investigators executed a
federal search warrant at Adebodun Idowu’s 518 Great Beds Ct. Perth Amboy,
New Jersey residence / premises. Investigators were authorized to search for,
and seize, evidence of a variety of offenses, including evidence of violations of
Title 18, United States Code, Sections 1343 & 1349 (Conspiracy to Commit

Wire Fraud).

 

7 Investigators first learned about this account after reviewing the monthly account
statement for Bank of America account # xxxx xxxx 5704.

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39.)

As a result of the aforementioned search, investigators seized a

variety of items, including:

40.)

a.)
b.)

c.)

Idowu’s wallet which contained a Bank of America debit card
in the name of Dimax Investments / Dino Martins;

An envelope containing a New Jersey driver's license in the
name of Dino Martins;

A Nigerian national driver’s license in the name of Dino
Martins which contained a picture of Adebodun Idowu;

A residential lease for 47 Brenner Street, Newark, NJ in the
name of “Martin Ola Dino’;

A Certificate of Formation for Dimax Investments L.L.C. with
registered agent of Dino Ola Martins;

Documents from Chase Bank in the name of Dimax
Investments; ,

Mail in the name of Santoks Investments; and

A Nigerian passport in the name of Dino Ola Martins which
contained a picture of Adebodun Idowu.

In connection with the aforementioned search, investigators sought

to interview Idowu. Idowu agreed to an interview and underwent a non-

custodial interview. During this interview, Idowu said a variety of things,

including:

a.)
b.)
Cc.)

d.)
e.)
f.)

g.)

h.)
i.)

That he was Adebodun Idowu;

That he was the sole employee of Santoks Investments;
That Santoks Investments is involved in the export of
vehicles to Africa;

That he had exported seven cars so far this year;

That he did not know who J.S. #2 was;

That he did not know who Dino Ola Martins was;

That he was familiar with Dimax Investments and that there
was some type of business relationship between he and
Dimax;

That he was familiar with the CTR filing requirements; and
When shown Bank of America bank surveillance screen
captures taken on March 6, 2017, that he was the person
shown in the screen captures.

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